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3                                 UNITED STATES DISTRICT COURT

4                           FOR THE EASTERN DISTRICT OF CALIFORNIA

5
     UNITED STATES OF AMERICA,                               1:94-cR-05011 LJO
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                             Plaintiff,                      ORDER DENYING PETITIONER’S
7                                                            MOTION FOR LEAVE TO PROCEED
                       v.                                    PRO SE, FOR REMOVAL OF
8                                                            COUNSEL, AND FOR SANCTIONS
     ROBERT GONZALES,                                        (Doc. 670)
9
                             Defendant.
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            On November 7, 2014, Defendant Robert Gonzales filed a pro se motion to reduce his sentence
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     pursuant to 18 U.S.C. § 3582(c)(2) (“§ 3582 Motion”). Doc. 661. Pursuant to Eastern District of
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     California General Order 546, the Court automatically referred Defendant’s § 3582 Motion to the Office
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     of the Federal Defender. See Doc. 667. If, with a defendant’s consent, the Federal Defender enters an
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     appearance in connection with a previously filed pro se § 3582 motion, the Federal Defender would then
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     have the option of supplementing the motion. The Federal Defender cannot normally enter an
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     appearance without a defendant’s consent.
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            In this case, the Federal Defender has not entered an appearance on Defendant’s behalf. The
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     Federal Defender did request an extension of time, to February 20, 2015, to communicate with
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     Defendant about this matter. Doc. 668. The Court granted this request, Doc. 669, but has not yet
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     received any communication from the Federal Defender indicating that Defendant has consented to the
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     Federal Defender representing him in this matter.
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            On January 12, 2015, Defendant filed a motion for leave to proceed pro se, remove the Federal
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     Defender as counsel, and impose sanctions upon the Federal Defender. Doc. 670. This motion is
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     premised upon the erroneous assumption that the Federal Defender entered an appearance in this matter.

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              Case
     As no such     1:94-cr-05011-LJO
                appearance has been enteredDocument   671theFiled
                                            or attempted,         01/14/15
                                                             motion         Page
                                                                    is DENIED.   2 of 2 maintains his
                                                                               Defendant
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2    pro se status. The motion also implies that Defendant will not consent to the Federal Defender

3    representing him in connection with his § 3582 motion. Unless the Court is informed otherwise by the

4    Federal Defenders Office on or before February 14, 2014, the Court will assume petitioner has refused

5    to consent to representation by the Federal Defender’s Office. In such a circumstance, the United States

6    shall file an opposition to the pro se petition on or before February 28, 2014. No reply is authorized.

7    IT IS SO ORDERED.

8       Dated:     January 14, 2015                           /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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